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`                                                 U.S. Department of Justice

                                                  United States Attorney
                                                  Southern District of New York

                                                       November 17, 2021
                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
BY EMAIL                                              New York, New York 10007


                                                  April 1, 2022


By ECF

The Honorable Alison J. Nathan
United States District Court
Southern District of New York
United States Courthouse
40 Foley Square
New York, New York 10007B

       Re:     United States v. Ghislaine Maxwell, S2 20 Cr. 330 (AJN)

Dear Judge Nathan:

       The Government submits this letter to respectfully request that the Court exclude time

under the Speedy Trial Act with respect to Counts Seven and Eight, from today’s date until April

22, 2022. See 18 U.S.C. § 3161(h)(7)(A). The Court previously excluded time through April 1,

2022, finding that the exclusion of time would further the interests of justice by permitting the

parties to research and brief post-trial motions. (See Dkt. No. 579). Those motions remain pending.

Accordingly, because the pending motions affect the scheduling considerations set forth in the

Government’s January 10, 2022 letter (Dkt. No. 574), the Government respectfully submits that

the exclusion of time would further the interests of justice.




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      The Government has conferred with defense counsel, who consent to this request.


                                                Respectfully submitted,

                                                DAMIAN WILLIAMS
                                                United States Attorney


                                          By:       s/
                                                Maurene Comey
                                                Alison Moe
                                                Lara Pomerantz
                                                Andrew Rohrbach
                                                Assistant United States Attorneys
                                                Southern District of New York

Cc: Defense Counsel (by ECF)




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